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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

    In re:                                   )    Chapter 11
                                             )
    Yellow Corporation, et al., 1            )    Case No. 23-11069 (CTG)
                                             )
                          Debtors            )    (Jointly Administered)
                                             )
                                             )    Objection Deadline: January 16, 2024 at 4:00 p.m.
                                             )    Hearing Date: January 22, 2024 at 2:00 p.m.

                                      NOTICE OF MOTION

         PLEASE TAKE NOTICE that on January 8, 2024, the Central States, Southeast and

Southwest Areas Pension Fund (the “Movant”), filed Central States Pension Fund’s Motion to

Compel Arbitration of Withdrawal Liability Disputes, or Alternatively, for Relief from the

Automatic Stay to Initiate Arbitration (the “Motion”) with the United States Bankruptcy Court for

the District of Delaware (the “Bankruptcy Court”).

         PLEASE TAKE FURTHER NOTICE that responses to the Motion, if any, must be filed

on or before January 16, 2024, at 4:00 p.m. (“Response Deadline”) with the United States

Bankruptcy Court for the District of Delaware, Clerk’s Office, 824 North Market Street, Third

Floor, Wilmington, Delaware 19081 and served on the undersigned counsel to the Movant so as

to be received on or before the Response Deadline.

         PLEASE TAKE FURTHER NOTICE that a hearing with respect to the Motion, if

required, is scheduled before the Honorable Craig T. Goldblatt at the Bankruptcy Court, 3rd Floor,

Courtroom 7, on January 22, 2024 at 2:00 p.m.




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 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the
Debtors’ proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of
Debtors’ principal place of business and the Debtors’ service address in these chapter 11 cases is: 10990
Roe Avenue, Overland Park, Kansas 66211.
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      PLEASE TAKE FURTHER NOTICE THAT IF NO OBJECTION OR OTHER

RESPONSE TO THE MOTION IS TIMELY FILED IN ACCORDANCE WITH THE

PROCEDURES SET FORTH ABOVE, THE BANKRUPTCY COURT MAY ENTER AN

ORDER GRANTING THE RELIEF SOUGHT IN THE MOTION WITHOUT FURTHER

NOTICE OR A HEARING.

Date: January 8, 2024              SULLIVAN ∙ HAZELTINE ∙ ALLINSON LLC
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